Case 2:17-cv-00784-JRG-RSP Document 39 Filed 05/08/18 Page 1 of 3 PageID #: 874




                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

SYMBOLOGY INNOVATIONS, LLC,
                                                   Civil Action No. 2:17-cv-00784-JRG-RSP
                        Plaintiff,
               v.
                                                        CONSOLIDATED LEAD CASE
BOUNCE ENERGY, INC., ET AL,
                                                          JURY TRIAL DEMANDED
                       Defendants.

                                JOINT NOTICE OF DISMISSAL

       IT IS HEREBY STIPULATED AND AGREED by the undersigned counsel for Plaintiff

Symbology Innovations, LLC (“Symbology”) and Defendant CITGO Petroleum Corporation

(“CITGO”), pursuant to Rule 41(a)(1)(A)(ii) of the Federal Rules of Civil Procedure, to dismiss all of

Symbology’s claims WITH PREJUDICE and all of CITGO’s counterclaims WITHOUT

PREJUDICE, with each party to bear its own costs and attorneys’ fees.
Case 2:17-cv-00784-JRG-RSP Document 39 Filed 05/08/18 Page 2 of 3 PageID #: 875




Dated: May 8, 2018                       Respectfully submitted,


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                                         -and-


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Case 2:17-cv-00784-JRG-RSP Document 39 Filed 05/08/18 Page 3 of 3 PageID #: 876




                                 CERTIFICATE OF SERVICE

          I hereby certify that all counsel of record who have consented to electronic service are
  being notified of the filing of this document via the Court’s CM/ECF system per Local Rule CV-
  5(a)(3) on this 8th day of May, 2018.

                                                     /s/ Thomas C. Wright
                                                     Thomas Wright
